Case 8:20-cv-00771-CEH-JSS Document 21 Filed 05/18/20 Page 1 of 7 PageID 284



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                              CASE NO. 8:20-cv-00771-CEH-JSS

PRIME TIME SPORTS GRILL, INC.,
d/b/a PRIME TIME SPORTS BAR,

        Plaintiff,

vs.

DTW1991 UNDERWRITING LIMITED, A
CERTAIN INTERESTED UNDERWRITER
AT LLOYD’S LONDON,

        Defendant.
                                                     /

      UNITED POLICYHOLDERS’ MOTION FOR LEAVE TO APPEAR AS AMICUS
                    CURIAE IN SUPPORT OF PLAINTIFF’S
               RESPONSE TO DEFENDANT’S MOTION TO DISMISS

        United Policyholders (“UP”) hereby moves this Honorable Court for leave to file the

accompanying amicus curiae brief in support of the Plaintiff’s response [D.E. 18] to Defendant’s

motion to dismiss [D.E. 13]. UP has a special interest in this litigation and can offer its unique

perspective to the Court as it considers the issues raised by Defendant’s motion to dismiss.

                                         ARGUMENT

        District courts have inherent authority and broad discretion to grant leave to file an

amicus brief. In re Bayshore Ford Truck Sales, Inc., 471 F.3d 1233, 1249 n.34 (11th Cir. 2006);

Stauart v. Huff, 706 F.3d 345, 355 (4th Cir. 2013); Jin v. Ministry of State Sec., 557 F. Supp. 2d

131, 136 (D. D.C. 2008); James Square Nursing Home, Inc. v. Wing, 897 F. Supp. 682, 683 n.2

(N.D. N.Y. 1995).

        Amici assist “in cases of general public interest by making suggestions to the court, by

providing supplementary assistance to existing counsel, and by insuring a complete and plenary
Case 8:20-cv-00771-CEH-JSS Document 21 Filed 05/18/20 Page 2 of 7 PageID 285
                                                              CASE NO. 8:20-cv-00771-CEH-JSS


presentation of difficult issues so that the court may reach a proper decision.” Newark Branch,

N.A.A.C.P. v. Town of Harrison, N.J., 940 F.2d 792, 808 (3d Cir. 1991) (citations omitted).

       Courts often grant leave to nonprofit organizations like UP with knowledge and

perspective that may assist in the resolution of the case. See Bryant v. Better Bus. Bureau, 923 F.

Supp. 720, 728 (D. Md. 1996); see also Perry-Bey v. City of Norfolk, Va., 678 F. Supp. 2d 348,

357 (E.D. Va. 2009). This Court has exercised its inherent authority and discretion previously.

See Cambridge Christian Sch., Inc. v. Fla. High Sch. Athletic Ass’n, Inc., No. 8:16-cv-02753

(M.D. Fla. Nov. 22, 2016).

       Although the Federal Rules of Civil Procedure do not contain a rule governing the filing

of amicus briefs, district courts often look to Federal Rule of Appellate Procedure 29 and United

States Supreme Court Rule 37 for guidance. See, e.g., Am. Humanist Ass’n v. Mid-Nat’l Capital

Park & Planning Comm’n, 147 F. Supp. 3d 373, 389 (D. Md. 2015); Resort Timeshare Resales,

Inc. v. Stuart, 764 F. Supp. 1495, 1500-01 (S.D. Fla. 1991). Rule 29 provides that a prospective

amicus must file, along with the proposed brief, a motion that states “the movant’s interest” and

“the reason why an amicus brief is desirable and why the matters asserted are relevant to the

disposition of the case.” FED. R. APP. P. 29(a)(3).

       I.      United Policyholders’ interest in this case.

       The pending motion to dismiss is one of the earliest challenges, not only in Florida but

nationwide, to a policyholder’s ability to state a claim for business interruption insurance

coverage stemming from the COVID-19 pandemic. The nature of the arguments raised by

Defendant are sweeping in scope, and touch issues ubiquitous in similar litigation.

       The application of insurance contracts requires special judicial handling. Not only are

insurance contracts adhesive in nature, which compels judicial balancing, but effectuating




                                               -2-
Case 8:20-cv-00771-CEH-JSS Document 21 Filed 05/18/20 Page 3 of 7 PageID 286
                                                              CASE NO. 8:20-cv-00771-CEH-JSS


indemnification in case of loss is a fundamental economic and social objective that courts can

advance. UP respectfully seeks to assist this Court in fulfilling these important roles.

       UP is a non-profit, tax-exempt, charitable organization founded in 1991 that provides

valuable information and assistance to the public on insurers’ duties and policyholders’ rights.

UP monitors developments in the insurance marketplace and serves as a voice for policyholders

in legislative and regulatory forums. UP helps preserve the integrity of the insurance system by

educating consumers and advocating for fairness in sales and claim practices. Grants, donations

and volunteers support the organization’s work. UP does not accept funding from insurance

companies.

       UP’s work is divided into three program areas:          Roadmap to Recovery™ (disaster

recovery and claim help), Roadmap to Preparedness (disaster preparedness through insurance

education), and Advocacy and Action (advancing pro-consumer laws and public policy through

submission of amicus curiae). UP hosts a library of informational publications and videos

related to personal and commercial insurance products, coverage and the claims process at

www.uphelp.org.

       UP has been serving Florida residents since 1992 when it helped promote fair claim

settlements in the aftermath of Hurricane Andrew. UP’s activities in the Sunshine State have

included long-term disaster recovery assistance; consumer advocacy related to homeowners’

insurance rates and availability (i.e. depopulating Citizens); promoting preparedness and

mitigation; educating and assisting consumers navigating the complicated insurance claims

process under wind, flood, and liability policies. State insurance regulators, including the Florida

Office of Insurance Regulation, academics, and journalists throughout the U.S. routinely engage

with UP on issues impacting policyholders. UP’s Executive Director, Amy Bach, Esq., has




                                                -3-
Case 8:20-cv-00771-CEH-JSS Document 21 Filed 05/18/20 Page 4 of 7 PageID 287
                                                              CASE NO. 8:20-cv-00771-CEH-JSS


served as an official consumer representative to the National Association of Insurance

Commissioners since 2009.

       In furtherance of its mission, UP regularly appears as amicus curiae in courts nationwide

to advance the policyholder’s perspective on insurance cases likely to have widespread impact.

UP’s amicus brief was cited in the U.S. Supreme Court’s opinion in Humana Inc. v. Forsyth, 525

U.S. 299 (1999).

       UP has been actively involved as amicus curiae in Florida courts and submitted briefs in

recent cases, including: Citizens Property Insurance Corp. v. Manor House LLC, No. SC19-1394

(Fla. 2019); Travelers Indemnity Co. v. Richard McKenzie & Sons, Inc., Case. No. 18-13172-D

(11th Cir. 2018); Harvey v. Geico General Insurance Co., Case No. SC17-85 (Fla. 2017);

Escobar v. Tower Hill Signature Insurance Co., Case No. 3D16-1844 (Fla. 3d DCA 2017);

Vazquez v. Southern Fidelity Property & Casualty, Inc., Case No. 3D16-915 (Fla. 3d DCA

2016); and Altman Contractors, Inc. v. Crum and Forster Specialty Ins. Co., Case No. SC16-

1420 (Fla. 2016).

       UP seeks to fulfill the classic role of amicus curiae by assisting in a case of general

public interest, supplementing the efforts of counsel, and drawing the court’s attention to law that

may have escaped consideration. Miller-Wohl Co., Inc. v. Comm’r of Labor & Indus., 694 F.2d

203, 204 (9th Cir. 1982). As commentators have stressed, an amicus is often in a superior

position to focus the court’s attention on the broad implications of various possible rulings. R.

Stern, E. Greggman & S. Shapiro, Supreme Court Practice, 570-71 (1986) (quoting Ennis,

Effective Amicus Briefs, 33 CATH. U. L. REV. 603, 608 (1984)).




                                               -4-
Case 8:20-cv-00771-CEH-JSS Document 21 Filed 05/18/20 Page 5 of 7 PageID 288
                                                            CASE NO. 8:20-cv-00771-CEH-JSS


       II.     The issues addressed by the amicus brief are useful and relevant to the
               Court’s review of Defendant’s motion to dismiss.

       Defendant’s motion to dismiss asserts that a party cannot plead in good faith COVID-19

related business interruption coverage because “direct physical loss and damage” cannot exist

without structural alteration and/or visible contamination of property. The public at large has a

significant interest in this issue, which is being actively litigated throughout the country. This

Court’s disposition of Defendant’s motion has the potential to affect thousands of policyholders,

not only in Florida but nationwide.

       The Court will benefit by reviewing the perspective of amicus, who has considerable

experience in briefing courts on insurance coverage issues and an interest in ensuring a proper

ruling under the doctrines of policy interpretation. United Policyholders’ proposed amicus brief

will analyze relevant precedent not already addressed in Defendant’s motion or Plaintiff’s

response, including analysis of whether the involved covered causes of loss cause “direct

physical loss and damage” under a property insurance policy.

       WHEREFORE, United Policyholders hereby requests that this Court enter an order

granting this motion for leave to file an amicus curiae brief and accepting the proposed amicus

curiae brief in consideration of Defendant’s motion to dismiss.

       A copy of United Policyholders’ amicus curiae brief is attached hereto as Exhibit “A.”

             CERTIFICATE OF CONFERRAL UNDER LOCAL RULE 3.10(g)

       Pursuant to Local Rule 3.01(g), the undersigned has contacted counsel for all parties, and

is authorized to represent that Plaintiff does not oppose the relief sought herein. Defendant

opposes the relief sought.

                                                    Respectfully submitted,

                                                    /s/ Matthew B. Weaver
                                                    R. Hugh Lumpkin


                                              -5-
Case 8:20-cv-00771-CEH-JSS Document 21 Filed 05/18/20 Page 6 of 7 PageID 289
                                                         CASE NO. 8:20-cv-00771-CEH-JSS


                                                  Florida Bar No. 308196
                                                  hlumpkin@reedsmith.com
                                                  Matthew B. Weaver
                                                  Florida Bar No. 42858
                                                  mweaver@reedsmith.com
                                                  Noah S. Goldberg
                                                  Florida Bar No. 1008316
                                                  REED SMITH LLP
                                                  1001 Brickell Bay Drive, Suite 900
                                                  Miami, Florida 33131
                                                  Telephone: (786) 747-0200
                                                  Facsimile: (786) 747-0299

                                                  Attorneys for United Policyholders


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 18, 2020, I electronically filed the foregoing

document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

being served this day on all counsel of record identified below via transmission of Notice of

Electronic Filing generated by CM/ECF.



                                                  /s/ Matthew B. Weaver
                                                  Matthew B. Weaver
                                                  Florida Bar No. 42858




                                            -6-
 Case 8:20-cv-00771-CEH-JSS Document 21 Filed 05/18/20 Page 7 of 7 PageID 290
                                                 CASE NO. 8:20-cv-00771-CEH-JSS


                                 SERVICE LIST

Mark D. Tinker, Esq., B.C.S.         Hannah E. Austin, Esq.
COLE, SCOTT & KISSANE, P.A.          Michael V. Laurato, Esq.
4301 West Boy Scout Boulevard        Austin & Laurato, P.A.
Suite 400                            1902 West Cass Street
Tampa, FL 33607                      Tampa, FL 33606
Tel.: (813) 509-2613                 Tel: (813) 258-0624
Fax: (813) 286-2900                  Fax: (813) 258-4625
mark.tinker@csklegal.com             efile@austinlaurato.com
mason.bradford@csklegal.com          haustin@austinlaurato.com
                                     mlaurato@austinlaurato.com

Trial Counsel for Underwriters       Counsel for Prime Time Sports Bar




                                     -7-
